        Case 1:17-cr-00201-ABJ Document 344-1 Filed 07/10/18 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       )
                                                )
                v.                              )
                                                )
 RICHARD W. GATES III,                          )            Crim. No. 17-201-2 (ABJ)
                                                )
                Defendant.                      )




                                             ORDER

       Upon consideration of Defendant Richard W. Gates III’s Unopposed Motion for

Enlargement of Time to Respond to the Court’s July 5, 2018, Minute Order, and finding good

cause shown, it is this ___ day of July, 2018, hereby

       ORDERED, that the motion is GRANTED; and it is

       FURTHER ORDERED that Defendant shall file notice of his position on unsealing these

documents no later than __ days after he is in receipt of these documents.



       SO ORDERED.



                                             _______________________________________
                                             AMY BERMAN JACKSON
                                             UNITED STATES DISTRICT JUDGE
